                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:13-00069
                                               )          JUDGE CAMPBELL
LUIS REYNALDO PARRA FLORES                     )

                                             ORDER

       The sentencing hearing in this case, currently set for April 7, 2014, is CONTINUED until

July 11, 2014, at 9:00 a.m.

       It is so ORDERED.



                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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